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                EXHIBIT 1




                                                        Exhibit 1
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                                                                            Receipt Number: 930004
                                                                            Tracking Number: 74022237
            EML
            COPY OF PLEADING PROVIDED BY PLT

                                              CAUSE NUMBER: 202239306


            PLAINTIFF: LIRA, ALEXANDER                                          In the Ollth Judicial

            vs.                                                                 District Court of

            DEFENDANT: LOWES COMPANIES INC                                      Harris County, Texas


                                                      CITATION
            THE STATE OF TEXAS
            County of Harris

            TO:    LOWES COMPANIES INC BY SERVING ITS REGISTERED AGENT CORPORATION SERVICE COMPANY
            D/B/A/ CSC-LAWYERS INCORPORATING SERVICE COMPANY
            211 E 9TH STREET SUITE 1300
            AUSTIN TX 78701

                  Attached is a copy of PLAINTIFF'S ORIGINAL PETITION.
            This instrument was filed on June 30, 2022, in the above numbered and styled cause on
            the docket in the above Judicial District Court of Harris County, Texas, in the
            courthouse in the City of Houst.on, Texas. The instrument attached describes the claim
            against you.
                YOU HAVE BEEN SUED.. You may employ an attorney.   If you or your attorney do not
            file a written answer with the District Clerk who issued this citation by 10:00 a.m.
            on the Monday next following the expiration of twenty days after you were served this
            citation and petition, a default judgment may be taken against you.    In addition to
            filing a written answer with the clerk, you may be required to make initial
            disclosures to the other parties of this suit.    These disclosures generally must be
            made no later t.han 30 days after you file your answer with the clerk.  Find out more
            at TexasLawHelp.org.
                  ISSUED AND GIVEN UNDER MY HAND and seal of said Court,           at Houston,    Texas,   this
            June 30, 2022.




                                                                      Marilyn Burgess, District Clerk
                                                                      Harris County, Texas
                                                                      201 Caroline, Houston, Texas 77002

                                                                      Generated By: LISA THOMAS

            Issued at request of:
            RODRIGUEZ, MARIO ALBERTO
            1111 W. NOLANA BLVD.
            MCALLEN, TX 78504
            (956) 971-0067
            Bar Number: 00784866




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                                                                                                         Tracking Number: 74022237
                                                                                                                               EML


                                                               CAUSE NUMBER: 202239306


            PLAINT I FF: LIRA, ALEXANDER                                                               I n t he Ollth

                   vs.                                                                                 Judicial District Court

            DEFENDANT: LOWES COMPANIES INC                                                             of Harris County, Texas




                                                         OFFICER/AUTHORIZED PERSON RETURN
            Came         to        hand      at        _ _ _ _,o 'cl ock                   M.,    on         the          day    of
            -----------------------------------------' 20______
            Executed at (address)
            in - - - - - - - County
            at                  o'clock                M.,      on                               the                     day     of
            -------- - - -- ---------------- ----------------' 20
                                                                                                 ___,
            by delivering to                                                            defendant,
            in person, a true copy of this
            Citation     together    with   the    accompanying              copy(ies)    of    the
                                                       Petition
            attached t hereto and I endorsed on said copy of the Citation the date of delivery.
            To      certify          which        I      affix     my      hand      officially         this               day   of
            - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - ' 20
            FEE:     $
                                                                                                        of
            County, Texas
                                                                              By:
                                   Affiant                                                            Deputy
            On this day,                                                      , known to me to be
            the person whose signature
            appears on the foregoing return, personal l y appeared. After being by me dul y sworn,
            he/she stated that this citation was executed by him/her in the exact manner recited
            on the return.

            SWORN             TO       AND            SUBSCRIBED         BEFORE           ME     on          this                of
            ------------------------------' 20

                                                                                                         Notary Public




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                                                                                                                6/30/2022 9:08 AM
                                                                                      MarUyn B urgess- District Clerk Harris County
                                                                                                          Envelope No. 65916079
                                                                                                                   By: Lisa Thomas
                                                                                                         Filed: 6/30/2022 9:08 AM

                                  CAUSE N O . : - - - - - - - - - -

            ALEXANDER LIRA                                  §          IN THE DISTRICT COURT
            Plaintiff                                       §
                                                            §
                                                            §          - - - JUDICIAL DISTRICT
            VS,                                             §
                                                            §
            LOWE'S COMPANIES, INC.                          §
            Defendant                                       §          HARRIS COUNTY, TEXAS

                                        PLAINTIFF'S ORIGlNAL PETITION


                    COMES NOW, ALEXANDER LIRA, Plaintiff, and files this his Original Petition,

            complaining of LOWE'S COMPANIES, INC .• Defendant, and for cause of action, states



                                            DISCOVERY CONTROL PLAN

            1. Pursuant to Rules 190.1 and 190.3 of the Texas Rules of Civil Procedure, Plaintiff

            states that discovery in this cause is intended to be conducted under Level 2.

                                                JURY DEMAND

            2.    Pursuant to Rules 216 and 217 of the Texas Rules of Civil Procedure, Plafntiff

            requests a jury trial of this matter. Plaintiff tendered the proper jury fee with the filing of

            Plaintiffs Original Petition.

                           RULE 47 STATEMENT OF MONETARY RELIEF SOUGHT

            3. Plaintiff prefers to have the jury determine the fair amount of compensation for

            Plaintiffs damages, it is early in the case to be assessing the full nature and scope of

            Plaintiffs injuries, and Plaintiff places the decision regarding the amount of

            compensation to be awarded in the jury's hands. Rule 47 of the Texas Rule of Civil

            Procedure, however, requires the Plaintiff to provide a statement regarding the amount




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            of monetary relief sought. Accordingly, Plaintiff states that only monetary relief of more

            than $1,000,000.00, including damages of any kind, penalties, costs, expenses, pre-

            judgment interest, and attorney fees; or an amount to be determined by the jury, is

            being sought. Plaintiff reserves the right to adjust this amount as time progresses and

            the full nature and scope of Plaintiffs damages is determined..

                                                       PARTIES

            4. Plaintiff is an individual residing in Harris County, Texas having an address at 5302

            Mulford Street, Houston, Texas 77023.

            5. Defendant is a business which does business in Harris County, Texas under the

            business name Lowe's Companies Inc. It may be served with process by serving it at

            its listed Reg·istered Agent's address:

                          Lowe's Companies, Inc.
                             Registered Agent - Corporation Service Company d/b/a
                                                Lawyers Incorporating Service Company
                                                211 E. 7th Street, Suite 620
                                                Austin, Texas 78701-3218


                                             CORRECT NAME

            6.     To the extent that the above-named Defendants are conducting business pursuant

            to a trade name or assumed name, then suit is brought against Defendants pursuant to

            the terms of Rule 28 of the Texas Rules of Civil Procedure, and Plaintiff hereby demands

            that upon answering this suit, that Defendants answer in correct legal and assumed

            names.

                                           VENUE AND JURISDICTION

            7. Venue is proper in this Court by virtue of sections 15.001 et. seq. of the Texas Civil

            Practice & Remedies Code, because the cause of action which is the basis of this case




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             arose in whole or in part in this county, and/or Defendant's residence or principal office

             is in this county. This Court has jurisdiction because Plaintiffs' damages are within the

            jurisdictional limits of this Court.

                                                          FACTS

                                                   Facts and liabilities

            8. Plaintiff was an employee for Defendant at its store #1128 which is located at 1000

            Gulfgate Center Mall, Houston, Texas 77987. Plaintiff was working for Defendant on the

            day Plaintiff was injured. When Defendant hired Plaintiff, Defendant was aware that

            Plaintiff required certain accommodations as Plaintiff was born with a disformed right arm

            that limited his ability to lift and carry certain items.

            9. In the early morning of March 12, 2021, while on the clock for Defendant, Plaintiff

            was picking up items left by customers from the day before. As Plaintiff was recovering

            such items from Aisle 14, he noticed a box which had been left on the floor. Plaintiff

            walked up to the box to lift it. Immediately upon bending down and lifting the box,

            Plaintiff felt strong pain radiating through his right leg and to his back. The pain was so

            great, that he could not get back up. He immediately reported the incident to his

            Manager, David, as he called on his zebra walkie-talkie requesting assistance. A few

            minutes later David and another Manager, Tammy, arrived. Tammy instructed David to

            assist Plaintiff and get him back on his feet. Upon lifting Plaintiff, Plaintiff felt much more

            pain; Plaintiff fell back down. After a little while, David helped Plaintiff sit on a beam that

            was next to Praintiff. Tammy then, instead of taking Plaintiff to the hospital, directed

            David to take Plaintiff on a scooter to Plaintiffs vehicle so he could go home and rest.

            Plaintiff drove home with much pain. All day and night, Plaintiff was in much pain.




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            10. The following day, March 13, 2021. Plaintiff was scheduled to work but Plaintiff was

            in even worse pain. He called Defendant and advised them that he was in excruciating

            pain and that he needed urgent medical care. Plaintiff advjsed Defendant that he was not

            going to go to work that day, as he was incapable of working. That morning, Plaintl.f fwas

            taken to the Emergency Room at Memorial Hermann Hospital. The Doctor prescribed

            pain medicaUon and took the Plaintiff off work. Thereafter, Plaintiff was prescribed

            physical therapy and returned to work under work restrictions. Because of his injury and

            constant pain, Plaintiff worked less and became depressed as he could not meet his

            financial, social, and marital obligations. That depression and stress grew and caused

            Plaintiffs health to spiral downwards. The stress was so great that Plaintiff had a stroke

            and a heart attack. This left him with brain damage to the point that he cannot remember

            even his house (which he has lived at for 27 years). At times he is in a vegetative state

            and now requires his wife to bathe him, dress him, feed him, and take constant care of

            him 24/7.

            11.    Defendant faited to provide proper equipment, help, assistance, and training to

            prevent injury to Plaintiff.

                                               CAUSES OF ACTION

                                                   NEGLIGENCE

             12.     Upon information and belief, Defendant is a non-subscriber to the Texas

             Workers Compensation Act. Thus, Defendant is deprived of the .common law defenses

             of contributory negligence, assumed risk, and fellow-servant rule. See Texas Labor

             Code Sec. 40e.033(a).




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             13. On the basis of this lawsuit, Defendant was guilty of certain acts, wrongs and/or

            omissions, each and aU amounting to negligence. Said acts, wrongs and/or omissions,

            each and all were the cause of Plaintiffs injuries, and include, but are not limited to the

            following:

                         a. Lack of employee training when lifting heavy items.
                         b. Failure to provide assistance to Plaintiff as Defendant was aware of
                              Plaintiffs deformed and disabled right arm.
                         c. Failure to provide forklifts or duct lifts to lift equipment instead of having
                              Plaintiff lift such items.
                         d. Failure to provide dollies or hand trucks to move the boxes instead of
                              having employees lift such.
                         e. Failure to provide suction devices or other accessories that can create
                              temporary handles to help in the lifting.
                         f.   Failure to act as a reasonably prudent employer would or should under
                              the same or similar circumstances.



             14.   Defendant knew, or should have known, that an occasion might arise as did with

             Plaintiff. Defendant knew, or should have known, that Plaintiff was not trained sufficiently,

             and/or required assistance for different tasks. Defendant failed to adequately train

             Plaintiff and provide the help he required. Had Defendant adequately trained or assisted

            · Plaintiff as required, he would not have been injured.

                                    WORKERS' COMPENSATION INSURANCE

            15. Plaintiff has been advised by the Texas Department of Insurance that on the day of

            the accident which formed the basis of this lawsuit, Defendant was a non-subscriber as

            per the Texas Workers' Compensation Act. Thus, this lawsuit is permissible.




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                                                       SPOLIATION

            16.   Defendant is hereby put on notice of the obligation to preserve all evidence

            related to Plaintiffs injuries, the cause of those injuries and evidence relating to the

            accident. Under Texas Law, the destruction, alteration, or loss of any of the below

            constitutes a spoliation of evidence. Plaintiff specifically requests the following evidence

            be maintained and preserved and not be destroyed, modified, altered, repaired, or

            changed in any manner.

                      1. All reports relating to the incident involving Plaintiff on or about March 12,
                          2021.

                      2 . All reports relating to any other incident relating to the use of the same
                          product, used by our client for a period of one (1) year before the
                          Accident.

                      3. Photographs, video, computer generated media or other recordings of the
                         area immediately surrounding the Accident, about the Accident itself or the
                         source which caused the Accident.

                      4. Any post-Accident maintenance, inspection or repair records. or invoices
                         regarding or related to the Accident.

                      5. Any e-mails, electronic messages, letters, memos or other documents
                         concerning this Accident.

                      6. Any manuals, guidelines, rules or regulations given to employees present
                         at the location of the accident, on the day of the Accident.

                      7. Any reports, memos, notes, logs or other documents evidencing
                         complaints about the product similar to the one which caused the
                         Accident.

                      8. Any and all computer, electronic, or e-mail messages of any type created
                         immediately after the Accident, by and between Plaintiff and Defendant,
                         it's employees and any agents or third parties, as well as any computer
                         messages which relate to this particular accident, whether generated or
                         received by Defendant or Defendant's agents.




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                       9. Any telephone calls recorded between Plaintiff and Defendant, its
                          employees anct any agents or third parties on January 29, 2020, or any
                          other day.

                                              PROXIMATE CAUSATION


            17. Each of the foregoing acts or omissions, singularly or in combination with others,

            constituted negligence/negligence per se, which proximately caused the above-

            referenced occurrence and Plaintiffs damages.

                                            TEXAS REMEDIES ONLY


            18. Although Plaintiff may have claims under Federal Law, Plaintiff sues exclusively for

            and under Texas remedies and seeks redress only under Texas laws and jurisdiction.

                                                         DAMAGES


            19. As a result of Defendant's actions, Plaintiff has suffered emotional/mental

            damages, in an amount yet to be determined.

            20. Plaintiff has suffered injuries and incurred medical expenses.

            21 .   Plaintiff has also suffered consequential damages and now seeks compensation

            for all such damages.

                                             CONDITIONS PRECEDENT


            22. All conditions, if any, precedent to Plaintiff's right to recover the relief sought herein

            have occurred or have been performed.

                                RULE 193.7 STATEMENT OF AUTHENTICATION


            23. Pursuant to Rule 193.7 of the Texas Rules of Civil Procedure, notice is hereby

            given to Defendant that any and all documents produced by Defendant may be used




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            against her at any pretrial proceeding and/or at the trial of this matter without the

            necessity of authenticating the documents.

                                                  RELIEF SOUGHT


            24.    Plaintiff requests that Defendant be cited to appear and answer, and that this case
            be tried, after which Plaintiff recover:

                   i.Judgment against Defendant for a sum within the jurisdictional limits of this Court
                    for the damages indicated above;
                  iLPre-judgment and post-judgment interest at the maximum amount allowed by

                    law;

                  iii. Costs of suit; and

                  iv.Such other and further relief to which Plaintiff may be justly entitled.




            Mario odngu
            The Rodriguez Law
            SBN: 00784866
            1111 W. Nolana Blvd.
            McAllen, Texas 78504
            (956) 971-0067 PH.
            (956) 971-0069 FAX
            Mario@Rodriguezl awFirmPC.com
            Anabei@RodriguezLawFirmPC.com
            ARNY@RodriguezLawFirmPC.com
            Carmen@RodriguezlawFirmPC.com

            ATTORNEY FOR PLAINTIFF




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                EXHIBIT 2




                                                        Exhibit 2
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                                         Chronological Case History
Style             LIRA, ALEXANDER vs. LOWES COMPANIES INC
Case Number       202239306 Case Status   Active - Civil Case Type              PERSONAL INJ (NON-AUTO)
File Court        011        File Date    6/30/2022      Next Setting           N/A

   Date            Type                                                Description
  6/30/2022       ACTIVITY   JURY DEMAND MADE (TRCP 216) COURT: 011

  6/30/2022      DOCUMENT    ORIGINAL PETITION COURT: 011 ATTORNEY: RODRIGUEZ, MARIO ALBERTO PERSON FILING: LIRA, ALEXANDER
  7/8/2022        SERVICE    PERSON SERVED: LOWES COMPANIES INC BY SERVING ITS REGISTERED AGENT CORPORATIONSERVICE COMPANY
                             D/B/A/ CSC-LAWYERS INCORPORATING SERVICE COMPANY SERVICE TYPE: CITATION INSTRUMENT: SEVERANCE
                             ORDER
  7/28/2022      DOCUMENT    ANSWER ORIGINAL PETITION COURT: 011 ATTORNEY: PEAVLER, DONNA C. PERSON FILING: LOWES COMPANIES
                             INC

  8/3/2022       DOCUMENT    FIRST AMENDED ORIGINAL PETITION COURT: 011 ATTORNEY: RODRIGUEZ, MARIO ALBERTO PERSON FILING:
                             LIRA, ALEXANDER
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                EXHIBIT 3




                                                        Exhibit 3
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                                                                             Marilyn Burgess - District Clerk Harris County
                                                                                                  Envelope No. 66748333
                                                                                                      By: Lewis John-Miller
                                                                                                 Filed: 7/28/2022 9:10 AM

                                     CAUSE NO. 202239306

 ALEXANDER LIRA,                              §               IN THE DISTRICT COURT
       Plaintiff,                             §
                                              §
 vs.                                          §               11TH JUDICIAL DISTRICT
                                              §
 LOWE’S COMPANIES, INC.,                      §
       Defendant.                             §               HARRIS COUNTY, TEXAS

                               DEFENDANT’S ORIGINAL ANSWER

         COMES NOW Defendant Lowe’s Companies, Inc., (hereafter, “Defendant” or “Lowe’s”)

and files its Original Answer to Plaintiff’s Original Petition (and any amendment or supplement

thereto). In support thereof, Defendant respectfully shows the Court the following:

                                               I.
                                        VERIFIED DENIAL

         1.    By way of verified denial pursuant to Texas Rule of Civil Procedure 93, Defendant

denies that Plaintiff is entitled to recover from “Lowes Companies, Inc.” in the capacity in which

it has been sued. Defendant denies that “Lowes Companies, Inc.” was in any way involved in the

events giving rise to this action and further denies that it employed Plaintiff or any other

person(s) involved in the alleged incident. Consequently, Plaintiff has no right or potential right

of recovery against “Lowes Companies, Inc.” because the proper party has not been sued. See,

e.g., Bailey v. Vanscot Concrete Co., 894 S.W.2d 757, 759 (Tex. 1995). The proper party, if any, is

Lowe’s Home Centers, LLC.




DEFENDANT’S ORIGINAL ANSWER                                                                       Page 1
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                                             II.
                                       GENERAL DENIAL
       2.      Defendant denies each and every material allegation contained in Plaintiff’s

Original Petition and any amendment or supplement thereto, demands strict proof thereof, and,

to the extent that such matters are questions of fact, says Plaintiff must prove such facts by a

preponderance of the evidence, if he can so do.

                                               III.
                   DEFENSES AND LIMITATIONS ON DAMAGES AND LIABILITY

       3.      Defendant specifically denies Plaintiff’s claims that it was negligent, and

Defendant denies that its alleged acts or omissions proximately caused Plaintiff’s alleged

damages, if any.

       4.      Defendant asserts that Plaintiff may have failed to use the degree of care and

caution as would have been used by a reasonable person under the same or similar

circumstances, and that such negligence, if any, solely produced and proximately caused

Plaintiff’s alleged damages, if any.

       5.      Defendant asserts that Plaintiff’s alleged damages, if any, may have been caused

by the acts of third persons or circumstances not under the control of Defendant. Such acts or

omissions of said third persons and/or such circumstances may have been the sole, producing,

proximate, intervening and/or supervening cause of Plaintiff’s damages or injuries, if any.

       6.      Defendant asserts any inherent dangers and risks associated with lifting were

commonly known, open and obvious, and/or actually known to Plaintiff prior to the incident and,

therefore, Defendant had no duty to warn or protect Plaintiff against such risks.




DEFENDANT’S ORIGINAL ANSWER                                                                   Page 2
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       7.      Defendant asserts that Plaintiff was performing the same character of work that

he and employees in his position have always done, and there is no evidence the work was

unusually precarious or hazardous, inherently dangerous or unusual. Thus, Defendant breached

no duty by requiring Plaintiff to perform the work at issue.

       8.      Defendant asserts that it owed Plaintiff no duty to warn, train, or provide

additional training, tools, equipment and/or assistance, because the task Plaintiff was performing

did not require special training, tools, equipment, and/or assistance, and further the risks

associated with it are/were commonly known in the industry and/or actually known by Plaintiff

prior to the incident in question.

       9.      In the alternative, Defendant would show that the accident complained of was an

unavoidable accident as that term is known in law, not caused by the negligence of any party.

       10.     Plaintiff’s damages, if any, may have been the result of prior, pre-existing, or

subsequent injuries, accidents, or conditions, and said prior, pre-existing, or subsequent injuries,

accidents, or conditions were the sole or a contributing cause of Plaintiff’s damages, if any.

       11.     Plaintiff may have breached his duty to mitigate damages by failing to exercise

reasonable care and diligence to avoid loss and minimize the consequences of his damages, if

any. This may include failing to present available health insurance information to medical

providers to take advantage of contractual write-offs and adjustments available under such

health-insurance plans.

       12.     Defendant asserts that Plaintiff may be malingering and/or exaggerating the

nature and severity of his alleged injuries to inflate the amount of his alleged damages. Further,

to the extent Plaintiff has been or is malingering and/or exaggerating the nature and severity of



DEFENDANT’S ORIGINAL ANSWER                                                                   Page 3
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his alleged injuries by continuing treatment to increase the amount of his medical expenses,

Defendant contends that said extended treatment is not medically necessary or reasonable.

       13.     Defendant contends that any claims for past and future medical or health care

expenses are limited to the customary and usual amounts charged for reasonable and necessary

medical care and must be reasonable, and, as regards past medical expenses, are further limited

to the amounts actually paid or incurred by or on behalf of Plaintiff, pursuant to Texas Civil

Practice and Remedies Code § 41.0105.

       14.     Defendant contends that, pursuant to Texas Civil Practice & Remedies Code

§ 18.091, to the extent Plaintiff is seeking a recovery for loss of earnings, lost wages, loss of

earning capacity, and loss of contributions of pecuniary value, evidence of these alleged losses

must be presented by Plaintiff in the form of a net loss after reduction for income tax payments,

or unpaid tax liability to any federal income tax law.

       15.     Defendant respectfully requests that the factfinder allocate responsibility, if any,

among all parties, settling parties, and responsible third parties, in accordance with Chapters 32

and 33 of the Texas Civil Practice and Remedies Code.

       16.     In the unlikely event an adverse judgment is rendered against it, Defendant

respectfully prays for contribution, indemnity and/or all available credits as provided for in the

Texas Civil Practice and Remedies Code and under Texas law.

       17.     Defendant asserts that it is further entitled to a credit or offset against any

judgment that may be rendered against it for any and all amounts paid to or on behalf of Plaintiff

under any of Defendant’s benefit or insurance programs, including, but not limited to, the Lowe’s

Occupational Injury Benefit Plan.



DEFENDANT’S ORIGINAL ANSWER                                                                  Page 4
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                                             IV.
                                  COURT REPORTER REQUESTED

        18.    Defendant respectfully requests that a court reporter be present at all

proceedings before the Court.



                                                 V.
                                               PRAYER

       WHEREFORE, PREMISES CONSIDERED, Defendant Lowe’s Companies, Inc., respectfully

prays that Plaintiff take nothing by this cause of action; that Defendant be permitted to recover

the costs and fees expended on its behalf; and for all other and further relief, both general and

special, at law and in equity, to which it shows itself to be justly entitled.

                                                   Respectfully submitted,
                                                   /s/ Donna C. Peavler
                                                   Donna C. Peavler
                                                   State Bar No. 00783887
                                                   dpeavler@peavlerbriscoe.com
                                                   Victoria Tuhovak
                                                   State Bar No. 24120407
                                                   vtuhovak@peavlerbriscoe.com
                                                   PEAVLER | BRISCOE
                                                   2215 Westgate Plaza
                                                   Grapevine, Texas 76051
                                                   (214) 999-0550 (telephone)
                                                   (214) 999-0551 (fax)

                                                   ATTORNEYS FOR DEFENDANT
                                                   LOWE’S COMPANIES, INC.




DEFENDANT’S ORIGINAL ANSWER                                                                Page 5
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                                  CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document has been
forwarded to all counsel of record pursuant to and in accordance with the Texas Rules of Civil
Procedure on July 28, 2022.

                                           /s/ Donna C. Peavler
                                           Donna C. Peavler




DEFENDANT’S ORIGINAL ANSWER                                                             Page 6
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    STATE OF TEXAS                §
                                  §
    COUNTY OF TARRANT             §

        Before me, the undersigned authority, did personally appear Donna C. Peavler, who, upon
her oath deposes and says that she is one of the attorneys of record for Defendant; that she has
never been convicted of a felony or disqualifying crime; that she is over the age of 18 and
competent to make this verification. Accordingly, she verifies that the facts alleged in Section I.
of the foregoing pleading are within her personal knowledge and true and correct.




       Subscribed and sworn to before me on this % t .y of July, 2022.




DEFENDANT'S ORIGINAL ANSWER                                                                 Page7
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                         Automated Certificate of eService
This automated certificate of service was created by the efiling system. The filer served this
document via email generated by the efiling system on the date and to the persons listed below.
The rules governing certificates of service have not changed. Filers must still provide a certificate
of service that complies with all applicable rules.

Sandy Dixon on behalf of Donna Peavler
Bar No. 783887
sdixon@peavlerbriscoe.com
Envelope ID: 66748333
Status as of 7/28/2022 9:43 AM CST
Case Contacts
Name               BarNumber   Email                            TimestampSubmitted     Status
Donna Peavler                  dpeavler@peavlerbriscoe.com      7/28/2022 9:10:25 AM   SENT
Janie Karrington               jkarrington@peavlerbriscoe.com   7/28/2022 9:10:25 AM   SENT
Sandy Dixon                    sdixon@peavlerbriscoe.com        7/28/2022 9:10:25 AM   SENT
Victoria Tuhovak               vtuhovak@peavlerbriscoe.com      7/28/2022 9:10:25 AM   SENT
Mario Rodriguez                Mario@RodriguezLawFirmPC.com     7/28/2022 9:10:25 AM   SENT
Case 4:22-cv-02610 Document 1-2 Filed on 08/04/22 in TXSD Page 23 of 44




                EXHIBIT 4




                                                       Exhibit 4
      Case 4:22-cv-02610 Document 1-2 Filed on 08/04/22 in TXSD Page 24 of 44                         8/3/2022 10:42 AM
                                                                           Marilyn Burgess - District Clerk Harris County
                                                                                                Envelope No. 66920276
                                                                                                        By: Anais Aguirre
                                                                                               Filed: 8/3/2022 10:42 AM

                                   CAUSE NO.: 202239306


ALEXANDER LIRA                                  §          IN THE DISTRICT COURT
Plaintiff                                       §
                                                §
VS.                                             §
                                                §          11th JUDICIAL DISTRICT
LOWE’S HOME CENTERS, LLC and                    §
LOWE’S COMPANIES, INC.                          §
Defendants                                      §          HARRIS COUNTY, TEXAS

                             PLAINTIFF’S FIRST AMENDED PETITION

        COMES NOW, ALEXANDER LIRA, Plaintiff, and files this his First Amended

Petition, complaining of LOWE’S HOME CENTERS, LLC., and LOWE’S COMPANIES,

INC., Defendants. For cause of action, Plaintiff states the following:

                                 DISCOVERY CONTROL PLAN

1. Pursuant to Rules 190.1 and 190.3 of the Texas Rules of Civil Procedure, Plaintiff

states that discovery in this cause is intended to be conducted under Level 2.

                                    JURY DEMAND

2.    Pursuant to Rules 216 and 217 of the Texas Rules of Civil Procedure, Plaintiff

requests a jury trial of this matter. Plaintiff tendered the proper jury fee with the filing of

Plaintiff’s Original Petition.

                RULE 47 STATEMENT OF MONETARY RELIEF SOUGHT

3. Plaintiff prefers to have the jury determine the fair amount of compensation for

Plaintiff’s damages, it is early in the case to be assessing the full nature and scope of

Plaintiff’s injuries, and Plaintiff places the decision regarding the amount of

compensation to be awarded in the jury’s hands. Rule 47 of the Texas Rule of Civil
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Procedure, however, requires the Plaintiff to provide a statement regarding the amount

of monetary relief sought. Accordingly, Plaintiff states that only monetary relief of more

than $1,000,000.00, including damages of any kind, penalties, costs, expenses, pre-

judgment interest, and attorney fees; or an amount to be determined by the jury, is

being sought. Plaintiff reserves the right to adjust this amount as time progresses and

the full nature and scope of Plaintiff’s damages is determined.

                                        PARTIES

4. Plaintiff is an individual residing in Harris County, Texas having an address at 5302

Mulford Street, Houston, Texas 77023.

5. Defendant Lowe’s Companies, Inc. is a business which does business in Harris

County, Texas. It has been served and has answered.

6. Defendant Lowe’s Home Centers, LLC is a business which does business in Harris

County, Texas. It may be served with process by serving its Legal Counsel at:

              Lowe’s Home Centers, LLC
              Legal Counsel – Peavler Briscoe
              Donna C. Peavler, Esq.
              2215 Westgate Plaza
              Grapevine, Texas 76051
              dpeavler@peavlerbriscoe.com


                                 CORRECT NAME
7.     To the extent that the above-named Defendants are conducting business pursuant

to a trade name or assumed name, then suit is brought against Defendants pursuant to

the terms of Rule 28 of the Texas Rules of Civil Procedure, and Plaintiff hereby demands

that upon answering this suit, that Defendants answer in correct legal and assumed

names.
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                                 VENUE AND JURISDICTION

8. Venue is proper in this Court by virtue of sections 15.001 et. seq. of the Texas Civil

Practice & Remedies Code, because the cause of action which is the basis of this case

arose in whole or in part in this county, and/or Defendant’s residence or principal office

is in this county. This Court has jurisdiction because Plaintiffs’ damages are within the

jurisdictional limits of this Court.

                                            FACTS

9. Plaintiff was an employee for Defendant Lowe’s Home Centers, LLC at its store

#1128 which is located at 1000 Gulf gate Center Mall, Houston, Texas 77987. Plaintiff

was working for Defendant Lowe’s Home Centers, LLC on the day Plaintiff was injured.

When Defendant Lowe’s Home Centers, LLC hired Plaintiff, Defendant Lowe’s Home

Centers, LLC was aware that Plaintiff required certain accommodations as Plaintiff was

born with a disformed right arm that limited his ability to lift and carry certain items.

10. In the early morning of March 12, 2021, while on the clock for Defendant Lowe’s

Home Centers, LLC, Plaintiff was picking up items left by customers from the day before.

As Plaintiff was recovering such items from Aisle 14, he noticed a box which had been

left on the floor. Plaintiff walked up to the box to lift it. Immediately upon bending down

and lifting the box, Plaintiff felt strong pain radiating through his right leg and to his back.

The pain was so great, that he could not get back up. He immediately reported the

incident to his Manager, David, as he called on his zebra walkie-talkie requesting

assistance. A few minutes later David and another Manager, Tammy, arrived. Tammy

instructed David to assist Plaintiff and get him back on his feet. Upon lifting Plaintiff,

Plaintiff felt much more pain; Plaintiff fell back down. After a little while, David helped
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Plaintiff sit on a beam that was next to Plaintiff. Tammy then, instead of taking Plaintiff to

the hospital, directed David to take Plaintiff on a scooter to Plaintiff’s vehicle so he could

go home and rest. Plaintiff drove home with much pain. All day and night, Plaintiff was

in much pain.

11. The following day, March 13, 2021, Plaintiff was scheduled to work but Plaintiff was

in even worse pain. He called Defendant Lowe’s Home Centers, LLC and advised them

that he was in excruciating pain and that he needed urgent medical care. Plaintiff

advised Defendant Lowe’s Home Centers, LLC that he was not going to go to work that

day, as he was incapable of working. That morning, Plaintiff was taken to the Emergency

Room at Memorial Hermann Hospital. The Doctor prescribed pain medication and took

the Plaintiff off work. Thereafter, Plaintiff was prescribed physical therapy and returned to

work under work restrictions. Because of his injury and constant pain, Plaintiff worked

less and became depressed as he could not meet his financial, social, and marital

obligations. That depression and stress grew and caused Plaintiff’s health to spiral

downwards. The stress was so great that Plaintiff had a stroke and a heart attack. This

left him with brain damage to the point that he cannot remember even his house (which

he has lived at for 27 years). At times he is in a vegetative state and now requires his

wife to bathe him, dress him, feed him, and take constant care of him 24/7.

12. Defendant Lowe’s Home Centers, LLC failed to provide proper equipment, help,

assistance, and training to prevent injury to Plaintiff.

                           CAUSES OF ACTION - NEGLIGENCE

13.     Upon information and belief, Defendant Lowe’s Home Centers, LLC is a non-

subscriber to the Texas Workers Compensation Act. Thus, Defendant Lowe’s Home
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Centers, LLC is deprived of the common law defenses of contributory negligence,

assumed risk, and fellow-servant rule. See Texas Labor Code Sec. 406.033(a). On

the basis of this lawsuit, Defendant Lowe’s Home Centers, LLC was guilty of certain

acts, wrongs and/or omissions, each and all amounting to negligence. Said acts,

wrongs and/or omissions, each and all were the cause of Plaintiff’s injuries, and

include, but are not limited to the following:

           a. Lack of employee training when lifting heavy items.
           b. Failure to provide assistance to Plaintiff as Defendant was aware of
              Plaintiff’s deformed and disabled right arm.
           c. Failure to provide forklifts or duct lifts to lift equipment instead of having
              Plaintiff lift such items.
           d. Failure to provide dollies or hand trucks to move the boxes instead of
              having employees lift such.
           e. Failure to provide suction devices or other accessories that can create
              temporary handles to help in the lifting.
           f. Failure to act as a reasonably prudent employer would or should under
              the same or similar circumstances.



14.     Defendant Lowe’s Home Centers, LLC knew, or should have known, that an

occasion might arise as did with Plaintiff. Defendant Lowe’s Home Centers, LLC knew,

or should have known, that Plaintiff was not trained sufficiently, and/or required

assistance for different tasks. Defendant Lowe’s Home Centers, LLC failed to adequately

train Plaintiff and provide the help he required. Had Defendant Lowe’s Home Centers,

LLC adequately trained or assisted Plaintiff as required, he would not have been injured.
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                     WORKERS’ COMPENSATION INSURANCE

15. Plaintiff has been advised by the Texas Department of Insurance that on the day of

the accident which formed the basis of this lawsuit, Defendant Lowe’s Home Centers,

LLC was a non-subscriber as per the Texas Workers’ Compensation Act. Thus, this

lawsuit is permissible.

                                           SPOLIATION

16.    Defendant Lowe’s Home Centers, LLC is hereby put on notice of the obligation to

preserve all evidence

related to Plaintiff’s injuries, the cause of those injuries and evidence relating to the

accident. Under Texas Law, the destruction, alteration, or loss of any of the below

constitutes a spoliation of evidence. Plaintiff specifically requests the following evidence

be maintained and preserved and not be destroyed, modified, altered, repaired, or

changed in any manner.

           1. All reports relating to the incident involving Plaintiff on or about March 12,
              2021.

           2. All reports relating to any other incident relating to the use of the same
              product, used by our client for a period of one (1) year before the
              Accident.

           3. Photographs, video, computer generated media or other recordings of the
              area immediately surrounding the Accident, about the Accident itself or the
              source which caused the Accident.

           4. Any post-Accident maintenance, inspection or repair records or invoices
              regarding or related to the Accident.

           5. Any e-mails, electronic messages, letters, memos or other documents
              concerning this Accident.

           6. Any manuals, guidelines, rules or regulations given to employees present
              at the location of the accident, on the day of the Accident.
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           7. Any reports, memos, notes, logs or other documents evidencing
              complaints about the product similar to the one which caused the
              Accident.

           8. Any and all computer, electronic, or e-mail messages of any type created
              immediately after the Accident, by and between Plaintiff and Defendant,
              it’s employees and any agents or third parties, as well as any computer
              messages which relate to this particular accident, whether generated or
              received by Defendant or Defendant’s agents.

           9. Any telephone calls recorded between Plaintiff and Defendant, its
              employees and any agents or third parties on March 12, 2021, or any
              other day.


                                PROXIMATE CAUSATION


17. Each of the foregoing acts or omissions, singularly or in combination with others,

constituted negligence/negligence per se, which proximately caused the above-

referenced occurrence and Plaintiff’s damages.

                               TEXAS REMEDIES ONLY


18. Although Plaintiff may have claims under Federal Law, Plaintiff sues exclusively for

and under Texas remedies and seeks redress only under Texas laws and jurisdiction.

                                         DAMAGES


19. As a result of Defendant’s actions, Plaintiff has suffered emotional/mental

damages, in an amount yet to be determined.

20. Plaintiff has suffered injuries and incurred medical expenses.

21.    Plaintiff has also suffered consequential damages and now seeks compensation

for all such damages.
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                                 CONDITIONS PRECEDENT


22. All conditions, if any, precedent to Plaintiff’s right to recover the relief sought herein

have occurred or have been performed.

                   RULE 193.7 STATEMENT OF AUTHENTICATION


23. Pursuant to Rule 193.7 of the Texas Rules of Civil Procedure, notice is hereby

given to Defendant Lowe’s Home Centers, LLC that any and all documents produced by

Defendant may be used against her at any pretrial proceeding and/or at the trial of this

matter without the necessity of authenticating the documents.

                                     RELIEF SOUGHT

Plaintiff requests that Defendant Lowe’s Home Centers, LLC be cited to appear and

answer, and that this case be tried, after which Plaintiff recover:


      i.Judgment against Defendants for a sum within the jurisdictional limits of this

       Court for the damages indicated above;

     ii.Pre-judgment and post-judgment interest at the maximum amount allowed by

       law;

    iii.Costs of suit; and

    iv.Such other and further relief to which Plaintiff may be justly entitled.


Respectfully submitted,


S/________________
Mario Rodriguez
The Rodriguez Law Firm, PC
SBN: 00784866
   Case 4:22-cv-02610 Document 1-2 Filed on 08/04/22 in TXSD Page 32 of 44




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Mario@RodriguezLawFirmPC.com
Anabel@RodriguezLawFirmPC.com
ARNY@RodriguezLawFirmPC.com
Carmen@RodriguezLawFirmPC.com

ATTORNEY FOR PLAINTIFF


                              CERTIFICATE OF SERVICE

I, the undersigned, do hereby certify that on this the 3rd day of August, 2022, I served a

copy of the foregoing document to the following parties and counsel of record in

accordance with the Texas Rules of Civil Procedure:

      Donna C. Peavler – Peavler Briscoe
      2215 Westgate Plaza
      Grapevine, Teas 76051
            dpeavler@peavlerbriscoe.com


______/S/__________________
Mario A. Rodriguez
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                         Automated Certificate of eService
This automated certificate of service was created by the efiling system. The filer served this
document via email generated by the efiling system on the date and to the persons listed below.
The rules governing certificates of service have not changed. Filers must still provide a certificate
of service that complies with all applicable rules.

Mario Rodriguez
Bar No. 00784866
legalag@aol.com
Envelope ID: 66920276
Status as of 8/3/2022 11:43 AM CST
Case Contacts
Name               BarNumber   Email                            TimestampSubmitted     Status
Donna Peavler                  dpeavler@peavlerbriscoe.com      8/3/2022 10:42:32 AM   SENT
Janie Karrington               jkarrington@peavlerbriscoe.com   8/3/2022 10:42:32 AM   SENT
Sandy Dixon                    sdixon@peavlerbriscoe.com        8/3/2022 10:42:32 AM   SENT
Victoria Tuhovak               vtuhovak@peavlerbriscoe.com      8/3/2022 10:42:32 AM   SENT
Mario Rodriguez                Mario@RodriguezLawFirmPC.com     8/3/2022 10:42:32 AM   SENT
Case 4:22-cv-02610 Document 1-2 Filed on 08/04/22 in TXSD Page 34 of 44




                EXHIBIT 5




                                                          Exhibit 5
       Case 4:22-cv-02610 Document 1-2 Filed on 08/04/22 in TXSD Page 35 of 44                           8/3/2022 4:39 PM
                                                                             Marilyn Burgess - District Clerk Harris County
                                                                                                  Envelope No. 66946173
                                                                                                          By: Anais Aguirre
                                                                                                  Filed: 8/3/2022 4:39 PM

                                     CAUSE NO. 202239306

 ALEXANDER LIRA,                               §              IN THE DISTRICT COURT
       Plaintiff,                              §
                                               §
 vs.                                           §              11TH JUDICIAL DISTRICT
                                               §
 LOWE’S HOME CENTERS, LLC and                  §
 LOWE’S COMPANIES, INC.,                       §
       Defendants.                             §              HARRIS COUNTY, TEXAS

                       LOWE’S HOME CENTERS, LLC’S ORIGINAL ANSWER

         COMES NOW Defendant Lowe’s Home Centers, LLC (hereafter, “Defendant” or “Lowe’s”)

and files its Answer to Plaintiff’s First Amended Petition (and any amendment or supplement

thereto). In support thereof, Defendant respectfully shows the Court the following:

                                               I.
                                        VERIFIED DENIAL

         1.    By way of verified denial pursuant to Texas Rule of Civil Procedure 93, Defendant

denies that Plaintiff is entitled to recover from “Lowes Companies, Inc.” in the capacity in which

it has been sued. Defendant denies that “Lowes Companies, Inc.” was in any way involved in the

events giving rise to this action and further denies that it employed Plaintiff or any other

person(s) involved in the alleged incident. Consequently, Plaintiff has no right or potential right

of recovery against “Lowes Companies, Inc.” because the proper party has not been sued. See,

e.g., Bailey v. Vanscot Concrete Co., 894 S.W.2d 757, 759 (Tex. 1995). The proper party, if any, is

Lowe’s Home Centers, LLC.




LOWE’S HOME CENTERS, LLC’S ORIGINAL ANSWER                                                        Page 1
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                                              II.
                                        GENERAL DENIAL
       2.      Defendant denies each and every material allegation contained in Plaintiff’s First

Amended Petition and any amendment or supplement thereto, demands strict proof thereof,

and, to the extent that such matters are questions of fact, says Plaintiff must prove such facts by

a preponderance of the evidence, if he can so do.

                                                III.
                   DEFENSES AND LIMITATIONS ON DAMAGES AND LIABILITY

       3.      Defendant specifically denies Plaintiff’s claims that it or any Lowe’s defendant was

negligent, and Defendant denies that its or any Lowe’s defendant’s alleged acts or omissions

proximately caused Plaintiff’s alleged damages, if any.

       4.      Defendant asserts that Plaintiff may have failed to use the degree of care and

caution as would have been used by a reasonable person under the same or similar

circumstances, and that such negligence, if any, solely produced and proximately caused

Plaintiff’s alleged damages, if any.

       5.      Defendant asserts that Plaintiff’s alleged damages, if any, may have been caused

by the acts of third persons or circumstances not under the control of Defendants. Such acts or

omissions of said third persons and/or such circumstances may have been the sole, producing,

proximate, intervening and/or supervening cause of Plaintiff’s damages or injuries, if any.

       6.      Defendant asserts that any inherent dangers and risks associated with lifting were

commonly known, open and obvious, and/or actually known to Plaintiff prior to the incident and,

therefore, Defendant had no duty to warn or protect Plaintiff against such risks.




LOWE’S HOME CENTERS, LLC’S ORIGINAL ANSWER                                                    Page 2
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       7.      Defendant asserts that Plaintiff was performing the same character of work that

he and employees in his position have always done, and there is no evidence the work was

unusually precarious or hazardous, inherently dangerous or unusual. Thus, Defendant breached

no duty by requiring Plaintiff to perform the work at issue.

       8.      Defendant asserts that they owed Plaintiff no duty to warn, train, or provide

additional training, tools, equipment and/or assistance, because the task Plaintiff was performing

did not require special training, tools, equipment, and/or assistance, (or, alternatively, that he

already had sufficient training and/or experience such that he needed no further training), and

further the risks associated with it are/were commonly known in the industry and/or actually

known by Plaintiff prior to the incident in question.

       9.      In the alternative, Defendant would show that the incident complained of was an

unavoidable accident as that term is known in law, not caused by the negligence of any party.

       10.     Plaintiff’s damages, if any, may have been the result of prior, pre-existing, or

subsequent injuries, accidents, or conditions, and said prior, pre-existing, or subsequent injuries,

accidents, or conditions were the sole or a contributing cause of Plaintiff’s damages, if any.

       11.     Plaintiff may have breached his duty to mitigate damages by failing to exercise

reasonable care and diligence to avoid loss and minimize the consequences of his damages, if

any. This may include failing to present available health insurance information to medical

providers to take advantage of contractual write-offs and adjustments available under such

health-insurance plans.

       12.     Defendant asserts that Plaintiff may be malingering and/or exaggerating the

nature and severity of his alleged injuries to inflate the amount of his alleged damages. Further,



LOWE’S HOME CENTERS, LLC’S ORIGINAL ANSWER                                                    Page 3
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to the extent Plaintiff has been or is malingering and/or exaggerating the nature and severity of

his alleged injuries by continuing treatment to increase the amount of his medical expenses,

Defendant contends that said extended treatment is not medically necessary or reasonable.

       13.     Defendant contends that any claims for past and future medical or health care

expenses are limited to the customary and usual amounts charged for reasonable and necessary

medical care and must be reasonable, and, as regards past medical expenses, are further limited

to the amounts actually paid or incurred by or on behalf of Plaintiff, pursuant to Texas Civil

Practice and Remedies Code § 41.0105.

       14.     Defendant contends that, pursuant to Texas Civil Practice & Remedies Code

§ 18.091, to the extent Plaintiff is seeking a recovery for loss of earnings, lost wages, loss of

earning capacity, and loss of contributions of pecuniary value, evidence of these alleged losses

must be presented by Plaintiff in the form of a net loss after reduction for income tax payments,

or unpaid tax liability to any federal income tax law.

       15.     Defendant respectfully requests that the factfinder allocate responsibility, if any,

among all parties, settling parties, and responsible third parties, in accordance with Chapters 32

and 33 of the Texas Civil Practice and Remedies Code.

       16.     In the unlikely event an adverse judgment is rendered against it or any other

Lowe’s defendant, Defendant respectfully prays for contribution, indemnity and/or all available

credits as provided for in the Texas Civil Practice and Remedies Code and under Texas law.

       17.     Defendant asserts it is further entitled to a credit or offset against any judgment

that may be rendered against them for any and all amounts paid to or on behalf of Plaintiff under




LOWE’S HOME CENTERS, LLC’S ORIGINAL ANSWER                                                   Page 4
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any of Defendants’ benefit or insurance programs, including, but not limited to, the Lowe’s

Occupational Injury Benefit Plan.

                                             IV.
                                  COURT REPORTER REQUESTED

        18.    Defendant respectfully requests that a court reporter be present at all

proceedings before the Court.

                                                V.
                                              PRAYER

       WHEREFORE, PREMISES CONSIDERED, Defendant Lowe’s Home Centers, LLC respectfully

prays that Plaintiff take nothing by this cause of action; that Defendant be permitted to recover

the costs and fees expended on its behalf; and for all other and further relief, both general and

special, at law and in equity, to which it may show itself to be justly entitled.

                                                   Respectfully submitted,
                                                   /s/ Donna C. Peavler
                                                   Donna C. Peavler
                                                   State Bar No. 00783887
                                                   dpeavler@peavlerbriscoe.com
                                                   Victoria Tuhovak
                                                   State Bar No. 24120407
                                                   vtuhovak@peavlerbriscoe.com
                                                   PEAVLER | BRISCOE
                                                   2215 Westgate Plaza
                                                   Grapevine, Texas 76051
                                                   (214) 999-0550 (telephone)
                                                   (214) 999-0551 (fax)

                                                   ATTORNEYS FOR DEFENDANTS
                                                   LOWE’S HOME CENTERS, LLC
                                                   LOWE’S COMPANIES, INC.




LOWE’S HOME CENTERS, LLC’S ORIGINAL ANSWER                                                 Page 5
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                                  CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document has been
forwarded to all counsel of record pursuant to and in accordance with the Texas Rules of Civil
Procedure on August 3, 2022.

                                             /s/ Donna C. Peavler
                                             Donna C. Peavler




LOWE’S HOME CENTERS, LLC’S ORIGINAL ANSWER                                              Page 6
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   STATE OF TEXAS                 §
                                  §
   COUNTY OF TARRANT              §

        Before me, the undersigned authority, did personally appear Donna C. Peavler, who, upon
her oath deposes and says that she is one of the attorneys of record for Defendant; that she has
never been convicted of a felony or disqualifying crime; that she is over the age of 18 and
competent to make this verification. Accordingly, she verifies that the facts alleged in Section I.
of the foregoing pleading are within her personal knowledge and true and correct.


                                                 _______________________________________
                                                 Donna C. Peavler


       Subscribed and sworn to before me on this ___ day of August ___, 2022.



                                             _________________________________________
                                             NOTARY PUBLIC in and for the State of Texas




LOWE’S HOME CENTERS, LLC’S ORIGINAL ANSWER                                                   Page 7
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of service that complies with all applicable rules.

Remi DiMarco on behalf of Donna Peavler
Bar No. 783887
rdimarco@peavlerbriscoe.com
Envelope ID: 66946173
Status as of 8/3/2022 4:55 PM CST
Case Contacts
Name               BarNumber   Email                            TimestampSubmitted    Status
Donna Peavler                  dpeavler@peavlerbriscoe.com      8/3/2022 4:39:49 PM   SENT
Janie Karrington               jkarrington@peavlerbriscoe.com   8/3/2022 4:39:49 PM   SENT
Sandy Dixon                    sdixon@peavlerbriscoe.com        8/3/2022 4:39:49 PM   SENT
Victoria Tuhovak               vtuhovak@peavlerbriscoe.com      8/3/2022 4:39:49 PM   SENT
Mario Rodriguez                Mario@RodriguezLawFirmPC.com     8/3/2022 4:39:49 PM   SENT
Remigio DiMarco                RDimarco@PeavlerBriscoe.com      8/3/2022 4:39:49 PM   SENT
Case 4:22-cv-02610 Document 1-2 Filed on 08/04/22 in TXSD Page 43 of 44




                EXHIBIT 6




                                                         Exhibit 6
      Case 4:22-cv-02610 Document 1-2 Filed on 08/04/22 in TXSD Page 44 of 44




                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

 ALEXANDER LIRA,                            §
      Plaintiff,                            §
                                            §
 v.                                         §      CIVIL ACTION NO. 4:22-cv-02610
                                            §
 LOWE’S HOME CENTERS, LLC and               §
 LOWE’S COMPANIES, INC.,                    §
      Defendants.                           §


                               LIST OF ALL COUNSEL OF RECORD

Counsel for Plaintiff Alexander Lira

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956-971-0067 – Telephone
956-971-0069 – Telecopier

Counsel for Defendants Lowe’s Home Centers, LLC and
Lowe’s Companies, Inc.

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Victoria Tuhovak
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